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             IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF TEXAS
                      HOUSTON DIVISION

JENNIFER HARRIS,                §
                                §
    Plaintiffs,                 §
                                §
vs.                             §            Civil Action 4:21-cv-1651
                                §
FEDEX CORPORATE SERVICES, INC., §
                                §
    Defendants.                 §

               PLAINTIFF’S REPLY TO RESPONSE
             TO MOTION FOR ENTRY OF JUDGMENT

TO THE HONORABLE KENNETH M. HOYT:

                                     Respectfully submitted,

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                                     PLAINTIFF JENNIFER HARRIS
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FEDEX CORPORATE SERVICES, INC., §
                                §
    Defendants.                 §

                    PLAINTIFF’S REPLY TO RESPONSE
                  TO MOTION FOR ENTRY OF JUDGMENT

TO THE HONORABLE KENNETH M. HOYT:

        Plaintiff Jennifer Harris replies to the response filed by FedEx Corporate

Services, Inc. to the motion for entry of entry of judgment on the verdict returned by

the jury in this matter.

   I.      FedEx’s Global Argument

        FedEx makes a perfunctory preservative argument to include the arguments

previously made in its motion for summary judgment and anticipated to be made in

post-judgment motions under Rules 50 and 59. The Court has considered arguments

of both parties on these matters, such as the statute of limitations and no evidence

issues, before and during trial. The arguments appear to be premature and more


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properly included in a post-judgment motion. Nevertheless, further argument on

these previously ruled upon issues is not necessary at this time.

   II.      Response May Not Be the Proper Procedure

         FedEx’s arguments in its response should more properly be made in the form

of a motion, such as a Rule 50 or Rule 59 motion. The Court contemplated a response

to a proposed judgment to be in the form of “a motion for new trial, a motion for

reconsideration, or a motion for judgment notwithstanding.” (Day 7 p. 15. Lines 9-

11). FedEx is essentially having Harris respond to a motion, by a reply, to essentially

post-judgment motions before a judgment is signed. Harris was given seven days

under the local rules to respond to substantively a motion for judgment

notwithstanding the verdict rather than replying to a response to a motion for

judgment on a verdict. Nevertheless, Harris addresses the arguments made in the

response.

   III.     Punitive Damages

            A. Evidence of Punitive Damages

         The Supreme Court construed set the standard for punitive damages under

Title VII by construing 42 U.S.C. § 1981a(b)(1), the damages statute applicable to

cases under Title VII. See Kolstad v. Am. Dental Ass’n, 527 U.S. 526, 534 (1999).

Under Section 1981a, punitive damages may be recovered if the employer “engaged

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in a discriminatory practice or discriminatory practices with malice or with reckless

indifference to the federally protected rights of an aggrieved individual.” Id. (Emphasis

added.); 42 U.S.C. § 1981a(b)(1).

      The Supreme Court held that an employer may not be vicariously liable for

the discriminatory employment decisions of managerial agents where these decisions

are contrary to the employer's “good-faith efforts to comply with Title VII.” Id. at

545. A factfinder may need to determine whether the employer had been making

good faith efforts to enforce an antidiscrimination policy.

      The Supreme Court specifically held that the common law of agency, of

simply showing managerial authority, was not sufficient under Section 1981a. The

Supreme Court has not construed whether this higher standard is applicable to

claims under the Civil Rights Act of 1866. Section 1981a itself states, “Nothing in

this section shall be construed to limit the scope of, or the relief available under,

section 1977 of the Revised Statutes (42 U.S.C. § 1981).” 42 U.S.C. § 1981a(b)(4).

However, the Fourth Circuit has found that the standard for punitive damages in

Kolstad does apply to claims under the Civil Rights Act of 1866. See Lowery v. Circuit

City Stores, Inc., 206 F.3d 431, 441 (4th Cir. 2000).

      The standard in Kolstad is showing conduct involving reckless or callous

indifference to the federally protected rights of others or acting with knowledge of

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falsity or reckless disregard for the truth. Kostad, at 536 (citations omitted). Applying

this standard in the context of § 1981a, an employer must at least discriminate in the

face of a perceived risk that its actions will violate federal law to be liable in punitive

damages. Id. However, the Supreme Court concluded that an employer’s conduct

need not be independently “egregious” to satisfy § 1981a’s requirements for a

punitive damages award, although evidence of egregious misconduct may be used to

meet the plaintiff's burden of proof. Id. at 545.

       The Fifth Circuit’s standard of review with respect to a jury verdict is

especially deferential. Wantou v. Wal-Mart Stores Tex., L.L.C., 23 F.4th 422, 431 (5th

Cir. 2022) (citations omitted.). A Rule 50 motion must be denied “unless the facts

and inferences point so strongly and overwhelmingly in the movant's favor that

reasonable jurors could not reach a contrary conclusion. Id.

       When reviewing a jury’s conclusions, the Court is “bound to view the

evidence and all reasonable inferences in the light most favorable to the jury's

determination.” Id. (quoting Rideau v. Parkem Indus. Servs., Inc., 917 F.2d 892, 897

(5th Cir. 1990). Court’s must defer to jury verdicts and interpret them most

favorably to upholding the jury's decision by a finding of consistency. Merritt

Hawkins & Assocs., L.L.C. v. Gresham, 861 F.3d 143, 154 (5th Cir. 2017) (quotations

omitted.).

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      FedEx intentionally retaliated against Harris by recklessly ignoring signs of

retaliation that could have prevented the harm. FedEx intentionally siloed

understaffed HR departments, kept them under qualified and under trained, allowed

and encouraged sham investigations, preventing the protection of those who make

discrimination complaints, and training employees to defend, not to prevent.

FedEx’s Manager of Human Resources, supervisor to the HR investigator who

investigated Harris’s claims, admitted the importance to not ignoring signs of

discrimination or retaliation and that it would be reckless if a company ignores

several signs or red flags of discrimination and retaliation. (Day 5 p. 88. Lines 12-18);

(Day 5 p. 118. Lines 2-21). FedEx ignored numerous signs of discrimination and

retaliation and acted recklessly in its treatment of Harris.

      Kristi Castilow, the HR Advisor who approves the disciplinary action and

termination of Harris, does not know Harris is filing discrimination complaints with

HR. (Day 2 p. 119. Lines 8-13). In late 2019, the same time frame that Harris is

complaining about discrimination and retaliation and subsequently receiving

disciplinary action, FedEx conducts training entitled “Defensible Performance

Management” for Lamb and Lamb’s peers. (Day 2 p. 119. Lines 7-13); (Day 2 p. 120.

Line 2 – p. 122. Line 16).



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      Castilow testified that HR professionals should have an appropriate number

of employees to monitor so they are not overwhelmed. (Day 2 p. 131. Lines 4-12).

However, Castilow has about 2,000 employees to watch over. (Day 2 p.131. Lines 4-

12). Castilow does not think 2,000 employees to watch over as an HR advisor is too

much. (Day 2 p. 131. Lines 4-12). The jury could see that 2,000 employees might be

too many for one HR Advisor.

      When asked if Castilow has been trained to understand the difference between

a fair and unfair EEO investigation, she responded that she does not work in that area

and may have received training. (Day 2 p. 126. Lines 14-22). Castilow understands

that the timing of when an employee is fired can be a sign of discrimination. (Day 2

p.125. Lines 12-25). Castilow recognizes that the timing from when Harris files her

last complaint of discrimination and retaliation until he was fired is a short time

frame. (Day 2 p. 125. Lines 12-21). Castilow cannot independently verify that

FedEx’s alleged performance reasons to terminate Harris are accurate. (Day 2 p.

124. Lines 18-25). Castilow understands that all of Harris’s peers are White. (Day 2

p. 123. Lines 16-18).

      Castilow confirms that Lamb’s documented discussions, the first step in any

progressive discipline for a FedEx employee, were not formal documents, not what



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FedEx believes to be “good practice,” and cannot simply be notes on Lamb’s

personal laptop. (Day 2 p. 117. Lines 2-25).

      Castilow agrees that discrimination and retaliation in the workplace today is

not always explicit with supervisors telling their employees, “I’m going to do this

because of the color of your skin tone, or I am going to do this because you said I was

discriminating.” (Day 2 p. 112. Lines 11-17). Castilow admits that FedEx should look

for red flags and warning signs of discrimination and retaliation in the workplace.

(Day 2 p. 112. Lines 11-24). And yet, she ignores all of the signs by Lamb and others

retaliating against Harris. FedEx knows that a manager acts on behalf of and is a

representative of the company. (Day 4 p. 164. Lines 2-4).

      Castilow cannot recognize that if an employee, like Harris, works at FedEx for

11 years and never received any disciplinary action, complains of discrimination or

retaliation, and then immediately receives disciplinary action can be a sign of

discrimination or retaliation. (Day 2 p. 110. Line 22 – p. 111. Line 24). Castilow

admits that at the time Harris reports discrimination or retaliation to HR, Castilow

would not know if Lamb is retaliating against Harris because the EEO investigation

is done in a different HR department than the progressive discipline department in

which Castilow works. (Day 2 p. 105. Line 18 – p. 106. Line 1).



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      Castilow admits that she relied on the manager to ensure the information in a

progressive discipline action is true or not. (Day 2 p. 103. Line 20 – p. 104. Line 12).

This means that Castilow, FedEx HR representative, would not know if and when

Lamb falsifies or cherry picks information in Harris’s disciplinary action in order to

wrongfully terminate Harris in retaliation for complaining.

      FedEx only had four to five investigators for its entire company to investigate

any complaint of discrimination or retaliation by an employee and they all officed in

Tennessee, none officed in Texas. (Day 4 p. 166. Lines 6-19). The only formal

training the FedEx HR investigator who investigated Harris’s complaints of

discrimination and retaliation had was one training when he first started working at

FedEx about 11 years ago. (Day 4 p. 168. Line 24 – p. 170. Line 2).

      FedEx’s HR investigator could not provide any example of how FedEx

monitors the workplace to prevent discrimination or retaliation outside of its policies

that state FedEx does not tolerate discrimination or retaliation. (Day 4 p. 181. Line 4

– p. 182. Line 6). FedEx expects its employees to govern themselves to follow the

policies against discrimination and retaliation. (Day 4 p. 181. Lines 16-19).

      FedEx knows that many employees do not report discrimination or retaliation,

some out of fear of retaliation. (Day 4 p. 182. Line 22 – p. 183. Line 16). And yet



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FedEx’s HR investigator could not provide a response on how FedEx would know

discrimination or retaliation occurs at FedEx unless a complaint is filed.

          B. Amount of Punitive Damages

      The Supreme Court noted in the BMW case that excessive punitive damages

can violate due process clause of the Fourteenth Amendment. See BMW of N. Am.,

Inc. v. Gore, 517 U.S. 559, 562 and 568 (1996). Justice Scalia complained in his dissent

that this was unjustified substantive due process not found the Constitution. Id. at

599. Later, in the State Farm case, the Supreme Court found that $145 punitive

damage award was excessive in a case in which $1 million was awarded in

compensatory damages. State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408,

426 (2003). The Supreme Court declines to impose a bright-line ratio which a

punitive damages award cannot exceed; however, it stated that few awards exceeding

a single-digit ratio between punitive and compensatory damages, to a significant

degree, will satisfy due process. Id. at 425. Nonetheless, there are no rigid

benchmarks that a punitive damages award may not surpass. Id. Justice Scalia again

dissents at the application of substantive due process in the limitation of punitive

damages. Id. at 429. Justice Thomas dissented stating that he continues “to believe

that the Constitution does not constrain the size of punitive damage awards. Id.

Recently, the Supreme Court reviewed its application of substantive due process in

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reconsidering the right to an abortion. Dobbs v. Jackson Women's Health Org.,
                                                                           - 213 L.

Ed. 2d 545, 142 S. Ct. 2228, 2242 (2022). The argument of substantive due process

limits on punitive damages may also be in jeopardy.

      “[T]he most important indicium of the reasonableness of a punitive damages

award is the degree of reprehensibility of the defendant's conduct.” BMW of N. Am.,

Inc. v. Gore, 517 U.S. 559, 575 (1996). The Supreme Court has instructed courts to

determine the reprehensibility of a defendant by considering whether: the harm

caused was physical as opposed to economic; the tortious conduct evinced an

indifference to or a reckless disregard of the health or safety of others; the target of

the conduct had financial vulnerability; the conduct involved repeated actions or was

an isolated incident; and the harm was the result of intentional malice, trickery, or

deceit, or mere accident. Id., at 576–577, 116 S. Ct. 1589. The existence of any one of

these factors weighing in favor of a plaintiff may not be sufficient to sustain a punitive

damages award; and the absence of all of them renders any award suspect. It should

be presumed a plaintiff has been made whole for his injuries by compensatory

damages, so punitive damages should only be awarded if the defendant's culpability,

after having paid compensatory damages, is so reprehensible as to warrant the

imposition of further sanctions to achieve punishment or deterrence. Id., at 575, 116



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S. Ct. 1589. See also State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408, 419

(2003).

             1.     Reprehensibility or Culpability.

      FedEx’s retaliatory conduct was systemic and reckless. FedEx callously

disregarded the law with conduct involving repeated actions rather than isolated

incidents and the harm is a result of intentional malice, trickery, and deceit; not mere

accident. There was evidence that FedEx acted in the face of a perceived risk that its

actions would violate federal law.

             2.     The Relationship Between the Penalty and the Harm.

      The penalty awarded by the jury bears a direct relationship to the harm to

Harris caused by FedEx’s conduct: humiliation and the destruction of her career.

The jury was punishing for retaliation and not for some other tangential reason.

             3.     The Sanctions Imposed in Other Cases for
                    Comparable Misconduct.

      Punitive damages of $5 million was upheld in a disability discrimination case.

Goldstine v. FedEx Freight Inc., No. C18-1164 MJP, 2021 WL 952354, at *8 (W.D.

Wash. Mar. 11, 2021). A jury in North Carolina awarded $10 million in punitive

damages in a race discrimination case. David Duval v. Novant Health, Inc., No. 3:19-

CV-624-DSC (W.D. N.C.) (case pending). A federal court in California upheld $13.5

million in punitive damages in a race discrimination case. Diaz v. Tesla, Inc., No.
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3:17-CV-06748-WHO, 2022 WL 1105075, at *25 (N.D. Cal. Apr. 13, 2022). A

federal court in Texas found that found $1 million in punitive damages in a Title VII

case supported by the evidence but reduced it according to the statutory cap.

Edwards v. Aaron Rents, Inc., 482 F. Supp. 2d 803, 816 (W.D. Tex. 2006). If the

Court considers a remittitur, then a suggested amount is at least nine times the

compensatory damages.

   IV.    Compensatory Damages

      The Fifth Circuit applies a “maximum recovery rule” to determine excessive

awards for intangible damages. See Echeverry v. Jazz Casino Co., L.L.C., 988 F.3d

221, 236 (5th Cir. 2021). This rule has the same Constitutional issue related to the

consideration of punitive damages. It unnecessarily invades the province of the jury.

Each case is fact specific and a jury is in the best position to make the determination.

A fixed ratio would be unconstitutional for the same reasons as applied to a punitive

damage award.

      In the application of the rule, he Fifth Circuit has acknowledged ambiguity: it

has sometimes applied the maximum-recovery rule at the outset to determine

whether the damages are excessive, and other times only to determine how much of

a reduction is warranted after deciding the award is excessive. Echeverry v. Jazz

Casino Co., L.L.C., 988 F.3d 221, 236 (5th Cir. 2021) (citations omitted). Under the

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latter application, if the Court determines award of the emotional distress damages

in the first instance is not excessive, then the maximum recovery rule does not apply.

See id. Each case should be considered in the context of its own facts to make the

initial determination. The damages that attack he core of a person’s identity are

among the worst known to mankind. It is the attack on their humanity, their right to

exist as a human. “For now, let us simply observe that the assault on human dignity

is one of the prime goals of the visitation of fear, a prelude to the domination of the

mind and the triumph of power.” 1

      Because the facts of each case are different, prior damages awards are not

always controlling; a departure from prior awards is merited “if unique facts are

present that are not reflected within the controlling caselaw.” Lebron v. United

States, 279 F.3d 321, 326 (5th Cir. 2002) (quoting Douglass at 1339). This case is

unique in the destruction of the career of a person who succeeded beyond all odds.

This is not a run of the mill case with run of the mill damages.

      District courts enjoy “wide discretion” in awarding damages. Douglass v.

Delta Air Lines, Inc., 897 F.2d 1336, 1339 (5th Cir. 1990); Wheat v. United States, 860




1
 Soyinka, W., Climate of Fear, excerpt from book
https://www.penguinrandomhouse.ca/books/170643/climate-of-fear-by-wole-
soyinka/9780812974249/excerpt (last visited December 19, 2022).
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F.2d 1256, 1259 (5th Cir.1988). A trial court’s assessment of damages is a finding of

fact, which is scrutinized for excessiveness under the clearly-erroneous standard.

Douglass, 897 F.2d at 1339; Wheat, 860 F.2d at 1259; Johnson v. Offshore Express,

Inc., 845 F.2d 1347, 1356 (5th Cir.), cert. denied, 488 U.S. 968 (1988).

       In the event the Court finds that the claims are not unique and more closely

related to general mental anguish damages, the following are examples of amounts

awarded:

       Eiland v. Westinghouse Elec. Corp., 58 F.3d 176, 182 (5th Cir. 1995) ($3
       million in noneconomic loss, including pain and suffering,
       disfigurement, and impairment not accounted for in lost wages);

       Adams v. Ethyl Corp., 838 F. App’x 822, 832 (5th Cir. 2020) (General
       damages in Mesothelioma case. than $3,000,000);

       Hale v. Wood Grp. PSN, Inc., 769 F. App’x 113, 114 (5th Cir. 2019)
       ($ 2,250,000 in general damages in personal injury case not clearly
       excessive); and

       Lebron v. United States, 279 F.3d 321, 327 (5th Cir. 2002) ($2 million
       loss of consortium to parents).

       If the uniqueness of the case is not enough to prevent the implication of

the maximum recovery rule, the uniqueness should be enough to relate the

damages more to emotional distress related to personal injuries than garden

variety emotional distress in employment cases. The amount awarded by the

jury falls within this range.

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      It is true that mental anguish damages awarded under the maximum recovery

rule for discrimination cases are much lower than in personal injury cases, especially

in the Fifth Circuit.

      In other circuits, larger amounts are upheld.

      Goldstine v. FedEx Freight Inc., No. C18-1164 MJP, 2021 WL 952354, at
      *8 (W.D. Wash. Mar. 11, 2021) (award of $1.25 million in emotional
      distress in a disability case);

      Kingston v. Int'l Bus. Machines Corp., No. C19-1488 MJP, 2021 WL
      2662216, at *6 (W.D. Wash. June 29, 2021) (six million in emotional
      distress was upheld in a race discrimination case);

      Diaz v. Tesla, Inc., No. 3:17-CV-06748-WHO, 2022 WL 1105075, at *15
      (N.D. Cal. Apr. 13, 2022), motion to certify appeal denied, No. 17-CV-
      06748-WHO, 2022 WL 2046827 (N.D. Cal. June 7, 2022) remittitur of
      $1.5 million on a verdict of $6.9 million in a race discrimination case);

      Tuli v. Brigham & Women’s Hosp., 656 F.3d 33, 44-47 (lst Cir. 2011)
      (Upholding award of $1.6 million dollars in compensatory damages for
      claims raised under federal law, which has a limit of $300,000 in non-
      pecuniary compensatory damages, and Massachusetts state law which
      does not have such a limit. The plaintiff could not sleep or eat and lost
      weight, had anxiety, anger, fear and nervousness which resulted in
      abdominal pain. The plaintiff testified that after years of hard work
      dedicated to her career, she was reduced to someone who could not
      function and could not pay her bills. The plaintiff did not present any
      medical documentation in support of her claims. The Court found no
      abuse of discretion in the district court's refusal to grant a remittitur in
      this case.);

      Watson v. Department of Rehabilitation, 212 Cal.App.3d 1271 (1989)
      (affirming $1.6 million award for race and age discrimination);


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      Greta L. Anderson v. American Airlines, 352 Fed. Appx. 182 (9th Cir.
      2009) (affirming $1,000,000 award of emotional distress damages in
      employment discrimination case under the California Fair Employment
      and Housing Act);

      Passantino v. Johnson & Johnson Consumer Prods., Inc., 212 F.3d 493 (9th
      Cir. 2000). (affirming $1 million emotional distress award for sexual
      harassment where plaintiff “worried, cried, and felt trapped and
      upset,” spent less time with her family, suffered stomach problems,
      rashes and headaches, and sought counseling with her pastor).

      The amount awarded by the jury in compensatory damages for Harris is closely

aligned to the remittitur in the Tesla case.

      In the Fifth Circuit, the following cases are damages awarded for mental

anguish in employment cases:

      Smith v. Lowe's Home Centers, Inc., No. CIV.SA-03-CA-1118-XR, 2005
      WL 1902544, at *1 (W.D. Tex. Aug. 10, 2005) ($325,000 in a
      retaliation case for filing a worker’s compensation claim – no caps
      involved)

      Edwards v. Aaron Rents, Inc., 482 F. Supp. 2d 803, 816 (W.D. Tex.
      2006) ($300,000.00 in a gender discrimination case).

      Witnesses testified about Harriss’s increased health issues after FedEx’s

treatment, including stomach issues, weight gain, and going to the doctor more. (Day

4 p. 268. Lines 14-25). Harris went to a counselor to help with the emotional distress.

(Day 4 p. 95. Lines 5-13). Harris testified that after her termination she was in an

extremely dark place. (Day 4 p. 93. Lines 21-23). Her personality changed from being

very energetic and a social butterfly to not having the strength to pull herself
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together. (Day 4 p. 95. Line 21 – p. 96. Line 5). Reverend Williams witnessed Harris

cry in public dur to the emotional distress caused by FedEx’s discrimination,

retaliation, and termination, and had to hold her while until she could compose

herself. (Day 4 p. 103. Line 11 – p. 105. Line 4).

        To the extent the Court is inclined to reduce the future emotional distress

damages, Harris requests a proportional additur to the award of past emotional

distress.

   V.       Equitable Relief

An example of equitable relief ordered in a recent case is Carter v. Transport

Workers Union of America, Local 556, and Southwest Airlines Co., pending in the

United States District Court, Northern District of Texas, Civil Action No. 3:17-cv-

2278-X (Exhibit 1).

        In the Carter case, the Court enjoined Southwest:

               from discriminating against Southwest flight attendants for their
                religious practices and beliefs, including—but not limited to—those
                expressed on social media and those concerning abortion;

               from failing to reasonably accommodate Southwest flight attendants’
                sincerely held religious beliefs, practices, and observances;

               from discriminating against Carter for exercising her rights, under the
                RLA, to resign from membership in Local 556 and to object to the
                forced payment of political and other nonchargeable union expenses,
                including—but not limited to—objections to union expenditures
                contained in social media posts;
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             to post jury’s verdict and the accompanying Final Judgment on
              company bulletin boards for a 60-day period and issue them
              electronically to all Southwest flight attendants; and

             to inform Southwest flight attendants that, under Title VII, they may
              not discriminate against Southwest flight attendants for their religious
              practices and beliefs, including—but not limited to—those expressed
              on social media and those concerning abortion. (Exhibit 1)

      Harris’s claims are similar. In addition, Harris is prepared to provide more

specifics on training and qualifications to be ordered.

      WHEREFORE, Plaintiff respectfully requests that the Court grant this

motion and enter an order finding that the Plaintiff is entitled to the full verdict with

interest and costs of court.



                                                Respectfully submitted,


                                                /s/ Brian Sanford
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                        CERTIFICATE OF SERVICE

       I hereby certify that December 19, 2022, I served the foregoing document on
all counsel of record via the electronic filing system of the Court.

                                                    /s/ Elizabeth J. Sanford




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